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From:                              Mccloskey, Benjamin (MYR)
Sent:                              Thursday, January 18, 2018 1:40 PM
To:                                Torres, Joaquin (ECN);Kelly, Naomi (ADM);Sesay, Nadia (Cll)
Cc:                                Chan, Gloria (ECN);Brown, Vallie (ECN)
Subject:                           RE: Fillmore Heritage Center



I think the only question which applies to MOHCD is the last one.

Total principal and interest owed to HUD totals $8.lM. Fillmore Development Commercial paid the city $2M. As of June
30, 2017, the City also has about $400k of additional costs which are required to be recouped by the sale. This is how
we arrived at the $6.SM minimum sales price ($8.lM - $2M + $400k = $6.SM).




Benjamin Mccloskey
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Mayor's Office of Housing and Community Development
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San Francisco, CA 94103
tel: 415.701.5575 fax: 415.701.5501
benjamin.mccloskey@sfgov.org


From: Torres, Joaquin (ECN)
Sent: Thursday, January 18, 2018 1:11 PM
To: Kelly, Naomi (ADM) <naomi.kelly@sfgov.org>; Brown, Vallie (ECN) <vallie.brown@sfgov.org>; Mccloskey, Benjamin
(MYR) <benjamin.mccloskey@sfgov.org>; Sesay, Nadia (CON) <nadia.sesay@sfgov.org>
Cc: Chan, Gloria (ECN) <gloria.chan@sfgov.org>
Subject: Fwd: Fillmore Heritage Center

Good afternoon,
Please see questions below. Vallie and I will work on some draft responses.

For those particular to your departments please provide bullet points as soon as you can

Kind regards,
Joaquin




Joaquin Torres
Deputy Director/Invest in Neighborhoods
Office of Economic and Workforce Development
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                                                                                                 CCSF-SHIFERAW 010594
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Sent from my iPhone

Begin forwarded message:

      From: Laura Waxmann <lwaxmann@sfmediaco.com>
      Date: January 18, 2018 at 12:57:40 PM PST
      To: Joaquin.Torres@sfgov.org
      Subject: Fillmore Heritage Center

      Hi Joaquin,

      Hope all is well. I'm following up on the Fillmore Heritage Center (I wrote about several
      Fillmore community leaders forming an oversight board in November) and wanted to check in
      with you regarding any updates to the RFP, potential candidates, future of the space.

      How will The City's committee that is currently tasked with overseeing the RFP process and
      choosing a developer for the center collaborate with the newly formed community oversight
      board.

      Is it accurate that to date, five RFPs have been submitted but were rejected by the RFP
      committee? Will a new RFP be issued? If so, when?

      Where does the project stand now? Is The City open to leasing out the space until a permanent
      owner is found? How much would it cost to activate the space in that capacity?

      Community members associated with the oversight board are asking for The City to renew its
      "contract with Urban Solutions or a comparable entity in order to make the Fillmore Heritage
      Center available for community use." They are also asking that prospective buyers of the
      property reimburse The City for the costs of the centers interim activation.

      Where does your department/the FHC committee stand on those demands?

      Also, how much funding is needed to pay off the HUD loan for the center?

      Sorry for the slew of questions -- feel free to give me a call if that's easier. I'm at 415-312-5055.

      My deadline for this is 4:30 pm - Thank you!

      Laura Waxmann

      Laura Waxmann I Reporter

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